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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 ) Case No. 1:21-cr-37-TNM
                                                 )
                           v.                    )
                                                 )
 TIMOTHY HALE-CUSANELLI,                         )
                                                 )
        Defendant.                               )
                                                 )

    HALE-CUSANELLI’S RESPONSE TO GOVERNMENT MOTION TO DISMISS

       Hale-Cusanelli, by counsel, hereby advises the Court that he does not oppose dismissal of

his case with prejudice.




Dated: January 23, 2025                            Respectfully submitted,


                                                   _/s/ Nicholas D. Smith_______
                                                   Nicholas D. Smith, D.C. Bar No. 1029802
                                                   1123 Broadway, Suite 909
                                                   New York, NY 10010
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                                                   nds@davidbsmithpllc.com
                                                   Counsel to Hale-Cusanelli




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                                      Certificate of Service

       I hereby certify that on the 23rd day of January, 2025, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

       Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].

                                                     _/s/ Nicholas D. Smith_______
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